Case 18-12339-whd          Doc 13      Filed 01/29/19 Entered 01/29/19 17:37:07                Desc Main
                                      Document      Page 1 of 32




                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      NEWNAN DIVISION

IN RE:                                                :    CHAPTER 7
                                                      :
CARLA BERNARUIS JONES,                                :    CASE NO. 18-12339-WHD
                                                      :
         Debtor.                                      :
                                                      :
                                                      :
DEUTSCHE BANK NATIONAL TRUST                          :    CONTESTED MATTER
COMPANY, AS TRUSTEE FOR GSAA TRUST                    :
2004-3, MORTGAGE PASS-THROUGH                         :
CERTIFICATES, SERIES 2004-3,                          :
                                                      :
         Movant.
                                                      :
vs.                                                   :
CARLA BERNARUIS JONES,                                :
JAMES G. BAKER, Trustee                               :

         Respondents.

              NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY


         Movant has filed documents with the court to obtain relief from the automatic stay.

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant relief from the automatic stay or if you want the court to
         consider your views on the motion, then you or your attorney shall attend the hearing scheduled
         to be held on

         February 27, 2019 at 10:00 AM at the United States Bankruptcy Court, Lewis R. Morgan
         Federal Building, 18 Greenville Street, Courtroom 2nd Floor, Newnan, Georgia 30263.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address stated below,
         but you are not required to do so. If you file a written response, you must attach a certificate
         stating when, how and on whom (including addresses) you served the response. Send your
         response so that it is received by the Clerk at least two business days before the hearing.
Case 18-12339-whd       Doc 13     Filed 01/29/19 Entered 01/29/19 17:37:07              Desc Main
                                  Document      Page 2 of 32


      If a hearing on the motion for relief from the automatic stay cannot be held within thirty (30)
      days, Movant waives the requirement for holding a preliminary hearing within thirty days of
      filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
      automatic stay remaining in effect until the Court orders otherwise.

      The address of the Clerk's Office is: Clerk, 18 Greenville Street, Newnan, Georgia 30263. You
      must also send a copy of your response to the undersigned at the address stated below.


      Dated this:   1/29/2019



                                               /s/Heather D. Bock
                                               Heather D. Bock, GA BAR NO. 122806
                                               Attorney for Movant
                                               McCalla Raymer Leibert Pierce, LLC
                                               1544 Old Alabama Road
                                               Roswell, Georgia 30076
                                               678-281-6444
                                               Heather.Bock@mccalla.com
Case 18-12339-whd         Doc 13     Filed 01/29/19 Entered 01/29/19 17:37:07          Desc Main
                                    Document      Page 3 of 32


                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    NEWNAN DIVISION

IN RE:                                             ) CHAPTER 7
                                                   )
CARLA BERNARUIS JONES,                             ) CASE NO. 18-12339-WHD
                                                   )
         Debtor.                                   )
                                                   )
                                                   )
DEUTSCHE BANK NATIONAL TRUST                       ) CONTESTED MATTER
COMPANY, AS TRUSTEE FOR GSAA                       )
TRUST 2004-3, MORTGAGE PASS-                       )
THROUGH CERTIFICATES, SERIES                       )
2004-3,                                            )
                                                   )
         Movant.                                   )
                                                   )
vs.                                                )
CARLA BERNARUIS JONES,                             )
JAMES G. BAKER, Trustee                            )

         Respondents.


                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         COMES NOW Movant and shows this Court the following:

                                                  1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed by law and the contract between the parties, including,

but not limited to, the right to foreclose on certain real property.

                                                  2.

         Wells Fargo Bank, N.A. is the servicer of a loan secured by certain real property in which

Debtor claims an interest. A copy of the Security Deed is attached hereto and made a part

hereof. Said real property is security for a promissory note, and is commonly known as 637 John
Case 18-12339-whd        Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07            Desc Main
                                  Document      Page 4 of 32


Lovelace Road, Lagrange, Georgia 30241 (the “Property”).

                                                3.

       Carla B. Jones and Corey S. Jones executed a promissory note secured by a mortgage,

security deed or deed of trust. The promissory note is either made payable to Creditor or has

been duly endorsed. Creditor, directly or through an agent, has possession of the promissory

note. Creditor is the original mortgagee or beneficiary or the assignee of the mortgage, security

deed or deed of trust.



                                                4.

       Debtor's Statement of Intention provides for the surrender of the real property.       In

addition, Debtor is in default of the monthly installments pursuant to the terms of the Loan

Modification Agreement. As of January 14, 2019, Debtor is delinquent for three (3) payments of

$1,324.96 each. The terms of the Debt Agreement were amended by a loan modification

agreement entered into by and between Wells Fargo Bank, N.A. and Carla B. Jones and Corey S.

Jones dated May 20, 2010 (the “Loan Modification Agreement”).

                                                5.

       As of January 14, 2019, the unpaid principal balance is $144,074.25, and interest is due

thereon in accordance with the Loan Modification Agreement.

                                                6.

       Because of Debtor's default and clear inability to make all required payments, Movant is

not adequately protected and shows that there is cause for relief from the automatic stay.

                                                7.

       Movant requests it be permitted to contact the Debtor via telephone or written
Case 18-12339-whd         Doc 13      Filed 01/29/19 Entered 01/29/19 17:37:07          Desc Main
                                     Document      Page 5 of 32


correspondence regarding potential loss mitigation options pursuant to applicable non-

bankruptcy law, including loan modifications, deeds in lieu of foreclosure, short sales and/or any

other potential loan workouts or loss mitigation agreements.

        WHEREFORE, Movant prays (1) for an Order modifying the automatic stay, authorizing

Movant, its successors and assigns, to proceed with the exercise of its private power of sale and

to foreclose under its Security Deed and appropriate state statutes; (2) that Movant, at its option,

be permitted to contact the Debtor via telephone or written correspondence regarding potential

loss mitigation options pursuant to applicable non-bankruptcy law, including loan modifications,

deeds in lieu of foreclosure, short sales and/or any other potential loan workouts or loss

mitigation agreements; (3) for waiver of Bankruptcy Rule 4001 (a)(3); and (4) for such other and

further relief as is just and equitable.


                                              /s/Heather D. Bock
                                              Heather D. Bock, Georgia BAR NO. 122806
                                              Attorney for Movant
                                              McCalla Raymer Leibert Pierce, LLC
                                              1544 Old Alabama Road
                                              Roswell, Georgia 30076
                                              678-281-6444
                                              678-281-6444
                                              Heather.Bock@mccalla.com
Case 18-12339-whd       Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07          Desc Main
                                 Document      Page 6 of 32


                                            BANKRUPTCY CASE NO. 18-12339-WHD

                                            CHAPTER 7

                                 CERTIFICATE OF SERVICE

      I, Heather D. Bock, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, Georgia 30076-2102, certify:

        That on the date below, I served a copy of the within NOTICE OF ASSIGNMENT OF
HEARING, together with the MOTION FOR RELIEF FROM THE AUTOMATIC STAY filed in
this bankruptcy matter on the following parties at the addresses shown, by regular United States
Mail, postage prepaid, unless another manner of service is expressly indicated:

Carla Bernaruis Jones
109 Fannin Street
Lagrange, GA 30240

Amanda A Barrett                            (served via ECF notification)
Harmon & Gorove
1 Jefferson Street
Newnan, GA 30263

James G. Baker, Trustee                     (served via ECF notification)
305 North Greenwood Street
LaGrange, GA 30240


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:     1/29/2019       By:    /s/Heather D. Bock
                     (date)             Heather D. Bock Georgia BAR NO. 122806
                                        Attorney for Movant
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document      Page 7 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document      Page 8 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document      Page 9 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 10 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 11 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 12 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 13 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 14 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 15 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 16 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 17 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 18 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 19 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 20 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 21 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 22 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 23 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 24 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 25 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 26 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 27 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 28 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 29 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 30 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 31 of 32
Case 18-12339-whd   Doc 13    Filed 01/29/19 Entered 01/29/19 17:37:07   Desc Main
                             Document     Page 32 of 32
